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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

VeroBlue Farms USA, Inc.,             §
                                      §
       Plaintiff,                     §   No. 3:19-cv-00764-L
                                      §
       v.                             §
                                      §
Leslie A. Wulf, Bruce A. Hall,        §
James Rea, John E. Rea, and           §
Keith Driver,                         §
                                      §
       Defendants.                    §
______________________________________________________________________________

    NON-PARTIES SNB FARM PARTNERSHIP, GRACE NELSON, JEFF
 NELSON, JERITA NELSON, KORINNE NELSON, AND MARK NELSON’S
    MOTION TO SEVER AND TRANSFER THEIR MOTION TO QUASH
   SUBPOENAS TO THE UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF IOWA
______________________________________________________________________________

      Non-Parties SNB Farm Partnership, Grace Nelson, Jeff Nelson, Jerita

Nelson, Korinne Nelson, and Mark Nelson (collectively “SNB Non-Parties”) jointly

move the Court to sever and transfer SNB Non-Parties’ Motion to Quash the

subpoenas issued by Plaintiff VeroBlue Farms USA, Inc. (“VBF”). In support of this

motion, the SNB Non-Parties state as follows:

      1.     The SNB Non-Parties are residents and citizens of the State of Iowa,

residing in the judicial district for the United States District Court for the Northern

District of Iowa.




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      2.     On March 1, 2019, the SNB Non-Parties timely filed a Motion to

Quash Subpoenas, which required compliance in the United States District Court

for the Southern District of Iowa. [See Dkt. No. 41.]

      3.     While the Motion to Quash was pending, the entire case was

transferred to this Court, which is not the “place of compliance” and lacks personal

jurisdiction over the SNB Non-Parties.

      4.     On April 16, 2019, the SNB Non-Parties initiated an original action in

the United States District Court for the Southern District of Iowa, incorporating

their timely Motion to Quash.

      5.     Since the Motion to Quash is pending in the court of compliance (S.D.

Iowa), the SNB Non-Parties request that this Court sever the Motion to Quash that

was transferred in this action [Dkt. No. 41] and transfer all proceedings related to

the subpoenas directed to the SNB Non-Parties to the United States District Court

for the Southern District of Iowa.

      9.     Pursuant to Local Rule 7.1, a brief and an appendix are submitted in

support of this motion.

      10.    Pursuant to Local Rule 7.1(b), on April 16, 2019, counsel for SNB Non-

Parties, David Caves, and counsel for VBF, Robert Lang, exchanged emails in an

attempt to set up a meet and confer prior to the filing of this motion. Mr. Caves and

Mr. Lang were not able to meet and confer prior to the filing of this motion.




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      11.    By filing this motion, the SNB Non-Parties do not consent to personal

jurisdiction in this Court. The SNB Non-Parties preserve all objections with respect

to the subpoenas at issue.

      WHEREFORE, the SNB Non-Parties move the Court to sever and transfer

their Motion to Quash [Dkt. No. 41] to the United States District Court for the

Southern District of Iowa, and for any further relief the Court deems just.




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Dated: April 17, 2018                 /s/ Karl M. Sigwarth
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                                      FARM PARTNERSHIP, MARK NELSON,
                                      GRACE NELSON, JEFF NELSON, JERITA
                                      NELSON, AND KORINNE NELSON




                           CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on April 17, 2019, a true and correct

copy of the foregoing document was served electronically on all persons who receive

electronic notice through the Court’s CM/ECF system.




                                /s/   Chanda Clark




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